Case 18-11801-LSS Doc 9-1 Filed 08/06/18 Page 1 of 8

Exhibit A

Proposed Interim Order

DOCS_DE:220490. 13 59942/()01

Case 18-11801-LSS Doc 9-1 Filed 08/06/18 Page 2 of 8

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAVVARE

 

)
In rec ) Chapter 11

)
J & M SALES INC., et al., ) Case No. 18-11801 ( )

)

Debtors.l ) Joint Administration Requested

)

INTERIM ORDER (A) AUTHORIZING THE DEBTORS TO OBTAIN
POSTPETITION CREDIT FROM CRITICAL VENDORS; (B) APPROVING'
CRITICAL VENDOR PROGRAM AND GRANTING OF JUNIOR AND
SUBORDINATED LIENS TO CRITICAL VENDORS; (C) AUTHORIZING
BANKS T() HONOR AND PROCESS RELATED CHECKS AND ELECTRONIC
TRANSFERS; (D) SCHEDULING FINAL HEARING; AND (E) GRANTING
RELATED RELIEF

 

Upon consideration of the motion (the “Motion”) 2 of the Debtors for entry of an
interim and final orders: (a) authorizing the Debtors to provide for payment terms of prepetition
claims of certain Critical Vendors, including the granting of the Junior Liens pursuant to
Bankruptcy Code section 364(c); (b) authorizing financial institutions to honor and process
related checks and transfers; and (c) granting any additional relief as is necessary to effectuate
the foregoing; and upon the Declaration osz.¢rt Kroll in Support of Chapter ]] Petz'tz`ons and
Fl'rst Day Motz'ons and Declaration ofMarc Bilbao in Support QfDebl'ors ’ Motz'ons With Respect
to DIP Financing, Crz'tz'cal Vendors and Sl'ore Closings; and upon the statements of counsel in

support of the relief requested in the Motion at the hearing before the Court; and it appearing that

 

l The Debtors in these Chapter ll cases, along With the last four digits of each Debtor’s federal tax identification
number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores,
Inc. (6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean lsland
Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, lnc. (6052); and Pazzo Management LLC
(1924). The Debtors’ mailing address is 15001 South Figueroa Street, Gardena, CA 90248.

2 Capitalized terms not defined herein shall have the meaning given to them in the l\/Iotion.

DOCS~DE:220490. 13 59942/001

Case 18-1180l-LSS Doc 9-1 Filed 08/06/18 Page 3 of 8

this Court has jurisdiction to consider the l\/lotion pursuant to 28 U.S.C. §§ 157 and 1334 and the
Amended Stana’z‘ng 0m’er ofReference from the United States District Court for the District of
Delaware, dated February 29, 2012; and it appearing that venue of these Chapter ll Cases and
the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing
that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found
that it may enter a final order consistent With Article IlI of the United States Constitution; and
this Court finding that, pursuant to Bankruptcy Code section, the Debtors, with respect to Critical
Vendor Liens: (a) are unable to obtain sufficient financing on more favorable terms; (b) the
granting of Critical Vendor Liens is necessary to maximize the value of the Debtors’ estates; (c)
the terms of the Critical Vendor Liens are fair, reasonable, and appropriate; and (d) entry into the
Critical Vendor Agreements and granting of the Critical Vendor Liens reflects the Debtors’
sound business judgment; and this Court having determined that the relief requested in the
Motion is in the best interests of the Debtors, their estates, their creditors, and other parties in
interest; and it appearing that proper and adequate notice of the l\/lotion has been given and that
no other or further notice is necessary; and after due deliberation thereon; and good and
sufficient cause appearing therefor; it is hereby
ORDERED, ADJUDGED, AND DECREED THAT:
l. The l\/lotion is GRANTED on an interim basis, as set forth herein.
2. The Debtors are authorized, but not directed, in their sole discretion and

business judgment, to provide for payment of each Critical Vendor Claim on the terms described

DOCS_DE:220490il3 59942/001

Case 18-1180l-LSS Doc 9-1 Filed 08/06/18 Page 4 of 8

in the l\/lotion, provided that the aggregate of postpetition credit extended by the Critical Vendors
shall not exceed 815 million on an interim basis, absent further order of the Court.

3. The form of Critical Vendor Agreement attached as Exhibit C to the
Motion is approved in its entirety, Without the necessity of the execution or recordation of
mortgages, security agreements, pledge agreements, financing statements, notices of lien or
similar instruments in any jurisdiction or the taking of any other action (other than actions
required to qualify under the terms of the Critical Vendor Agreements) to validate and perfect
the security interests and liens granted pursuant to this order for as long as the Critical Vendor
remains in compliance With the terms of the Critical Vendor Agreement. The Junior Liens
granted to the Critical Vendors shall be junior and subordinated to the Senior Secured Claims
and otherwise shall have the priorities and limitations set forth in the Critical Vendor Agreement.
Until repayment in full of the Senior Secured Claims, the Critical Vendors shall not take any
action With respect to the Critical Vendor Claims or Critical Vendor Liens or take or permit any
other action that is prejudicial to the holders of the Senior Secured Claims and their priority
position and are deemed to consent to any amendment or modification of loan documents
relating to the Senior Secured Claims. lf any holder of a Senior Secured Claim releases a lien on
all or any portion of the Collateral in connection With (i) a sale pursuant to section 363 of the
Bankruptcy Code; (ii) confirmation of a plan of reorganization; or (iii) any sale lease, license,
assignment, exchange, transfer or other disposition of any Collateral under the Uniform
Commercial Code or other applicable state law (each, a “Sale or Asset Disposition”), the

Critical Vendors Will be deemed to consent to such Sale or Asset Disposition and the Critical

DOCSMDE:22049O. 13 59942/0()1

Case 18-1180l-LSS Doc 9-1 Filed 08/06/18 Page 5 of 8

Vendor Liens Will be deemed automatically and simultaneously released Without further action
by any party and shall attach to the proceeds of any Sale or Asset Disposition With the same
validity, and priority and to the extent existing immediately prior to such Sale or Asset
Disposition. The Debtors are authorized to negotiate, and subject to the approval of the DIP
Lenders, modify, or amend the form of Critical Vendor Agreement in their reasonable business
judgment The Debtors are authorized, but not directed, in their sole discretion and business
judgment, to grant the Critical Vendor Liens in connection With the relief authorized by this
Order.

4. The Debtors shall condition payment of the Critical Vendor Claims on the
execution of a Critical Vendor Agreement, and the Debtors are authorized to enter into such
Critical Vendor Agreements When and if the Debtors determine, in the exercise of their business
judgment, that doing so is appropriate

5. The Debtors’ banks and financial institutions are authorized to receive,
process, honor, and pay all checks, drafts, electronic fund transfers, or other forms of payment
drawn or issued on the Debtors’ bank accounts before the Petition Date for the Critical Vendor
Claims that have not been honored and paid as of the Petition Date (or to reissue checks, drafts,
electronic fund transfers, or other forms of payment drawn or issued on the Debtors’ bank
accounts, as may be necessary), and are authorized to rely on the Debtors’ representations as to
Which checks, drafts, transfers, or other forms of payment drawn or issued on the Debtors’ bank
accounts are subject to this Order; provided that sufficient funds are on deposit in the applicable

bank accounts to cover such payments

DOCS_DE:220490. 13 59942/001

Case 18-1180l-LSS Doc 9-1 Filed 08/06/18 Page 6 of 8

6. The Debtors are authorized to reissue any check or electronic payment that
originally was given in payment of any prepetition amount authorized to be paid under this Order
and is not cleared by the applicable bank or other financial institution.

7. Nothing in the Motion or this Order or the relief granted herein (including
any actions taken or payments made by the Debtors) is to be construed as (i) an admission of the
validity of any claim against the Debtors; (ii) an admission with respect to the validity, extent, or
perfection of any lien; (iii) a waiver of the Debtors’ rights or those of any party in interest to
dispute, contest, setoff, or recoup any claim, or assert any related rights, claims, or defenses; (iv)
a waiver of the Debtors’ rights or those of any party in interest over the validity, extent,
perfection, or possible avoidance of any lien; or (v) an approval or assumption of any agreement,
contract, program, policy, or lease under section 365 of the Bankruptcy Code.

8. Bankruptcy Rule 6003(b) has been satisfied because the relief requested in
the l\/lotion is necessary to avoid immediate and irreparable harm to the Debtors.

9. Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms
and conditions of this Order shall be immediately effective and enforceable upon its entry.

l(). The Debtors are authorized and empowered to take all actions necessary to
implement the relief granted in this Order.

ll. A final hearing to consider the relief requested in the Motion shall be held

on , at (Eastern Time) and any objections or responses to

 

the Motion shall be in writing, filed with the Court, and served so as to be actually received on or

before , at 4:00 p.m. (Eastern Time), and served on the following

 

DOCS_DE:220490.13 59942/001

Case 18-1180l-LSS Doc 9-1 Filed 08/06/18 Page 7 of 8

parties: (i) counsel to the Debtors, (a) Pachulski Stang Ziehl & J ones LLP, 919 North Market
Street, 17th Floor, Wilmington, DE 19801 (Attn: Peter J. Keane, Esq. and Richard l\/l. Pachulski,
Esq.), pkeane@pszjlaw.com and rpachulski@pszjlaw.com; and (b) Katten l\/luchin Rosenman
LLP, 575 Madison Avenue, New York, NY 10022 (Attn: William Freeman, Esq. and Karen
Dine, Esq.), bill.freeman@kattenlaw.com and karen.dine@kattenlaw.com; (ii) counsel to Encina
Business Credit, LLC: Choate Hall & Stewart LLP, Two lnternational Place, Boston, l\/IA 02110
(Attn: Kevin J. Simard, Esq.); ksimard@choate.com; (iii) counsel to Gordon Brothers Finance
Company, as Administrative Agent, one of the Debtors’ prepetition secured lenders, Holland &
Knight, 10 St. James Avenue, llth Floor, Boston, MA 02116 (Attn: Jason Dell\/Ionico, Esq.);
Jason.Dell\/lonico@hklaw.com; (iv) counsel for Israel Discount Bank of New York, as co-
administrative agent and one of the Debtors’ prepetition secured lenders, Otterbourg P.C., 230
Park Avenue, New York, NY 10169 (Attn: Daniel Fiorillo, Esq.); dfiorillo@otterbourg.com; (v)
counsel to l\/lichael Fallas, SulrneyerKupetz, 333 South l-lope Street, 35th Floor, Los Angeles,
CA 90071 (Attn: Victor Sahn, Esq.); vsahn@sulmeyerlaw.com; (vi) the Office of the United
States Trustee, J. Caleb Boggs Federal Building, Room 2207, 844 North King Street,
Wilmington, Delaware 19801, Attn: Richard Schepacarter, Esq.;
richard.schepacarter@usdoj.gov; and (vii) counsel to any official committee appointed in these
Chapter 11 Cases.

12. lf no objections are filed to the Motion, the Court may enter the final

order without further notice or hearing.

DOCS_DE:220490. 13 59942/001

Case 18-1180l-LSS Doc 9-1 Filed 08/06/18 Page 8 of 8

13. This Court shall retain jurisdiction with respect to all matters arising from

or relating to the interpretation or implementation of this Order.

Dated: , 2018
Wilmington, Delaware

 

UNITED STATES BANKRUPTCY JUDGE

DOCS_DE:220490. 13 59942/001

